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                                    ID #1828



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

PETER BRIAN FLORES,

Defendant.                                                  No.07-30136-DRH


                                      ORDER

HERNDON, Chief Judge:

             Before the Court is Defendant Peter Brian Flores’ Motion to Continue

Sentencing Hearing (Doc. 552). Defendant asks that the sentencing hearing currently

set for October 1, 2010 be continued until early 2011 due to the reasons set forth in

the motion. The Government has no objections to the continuance. Therefore,

based on the reasons in the motion the Court GRANTS Defendant’s Motion to

Continue Sentencing Hearing (Doc. 552). The sentencing hearing currently set for

October 1, 2010 is CONTINUED until January 7, 2011 at 2:30 p.m.

             IT IS SO ORDERED.

             Signed this 28th day of September, 2010.



                                             /s/    DavidRHer|do|
                                             Chief Judge
                                             United States District Court
